Case 2:04-cr-20060-.]Pl\/| Document 75 Filed 08/12/05 Page 1 chF_ED Féa,gg@léc

uNlTED sTATEs D\sTRlcT couRT
wEsTERN olsTRlcT oF TENNEssEE 05 AUG l2 PH l= 53
MEMPH\s DlvlsloN

t wis l auto
uNlTED sTATEs oF AMERch 9ngth int*MTJE§URI
-v- 2:04cR20060-01-M\ -

THERON HlCKS
§QM\MMC$J_A
Defense Attorney
46 North Third Street, #628
Memphis, TN 38103

 

JUDGMENT |N A CRlM|NAL CASE
(For Offenses Committed On or After November 1, 1987)

The defendant pleaded guilty to Count 1 of the |ndictment on Nlarch 18, 2005. Accordingly,
the court has adjudicated that the defendant is guilty of the following offense(s):

Date Count
Title & Section M.M Offense Number(s}
i_ Concluded
18 U.S.C. § 922(9) Fe|on in Possession of a Firearm 09/30/2003 1

The defendant is sentenced as provided in the following pages of this judgment The
sentence is imposed pursuant to the Sentencing Reform Act of 1984 and the Mandatory
Victims Restitution Act of 1996.

|T |S FURTHER ORDERED that the defendant shall notify the United States Attorney for
' this district within 30 days of any change of name, residence, or mailing address until all
fines, restitution, costs and special assessments imposed by thisjudgment are fully paid.

Defendant’s Soc. Sec. No. XXX-XX-XXXX Date of lmposition of Sentence:
Defendant’s Date of Birth: 04/24/1979 August 12, 2005
Deft’s U.S. Nlarshal No.: 19547»076

Defendant’s |Vlailing Address:
586 Boston
Memphisl TN 38114

/Q-@ nw

J N PH|PPS N|CCALLA
U |TED S ATES D|STR|CT JUDGE

August /£ , 2005

 

Thls document entered on the docket sheet in coir\pléance

with noia as and/or azib) snch on g' 12 'Q 5

@

Case 2:04-cr-20060-.]Pl\/| Document 75 Filed 08/12/05 Page 2 of 5 PagelD 112

` Case No: 2:04CR20060-01-M| Defendant Name: Theron HlCKS Page 2 of 4
lMPR|SONMENT

The defendant is hereby committed to the custody of the United States Bureau of
Prisons to be imprisoned for a term of 100 Months (or 8 Years and 4 Months).

The Court recommends to the Bureau of Prisons:

1. The defendant be allowed to participate in the 500-hour intensive drug rehabilitation
treatment program.

2. The defendant be incarcerated at a facility in the Memphis, TN area.

The defendant is remanded to the custody of the United States Marshal.

RETU RN

l have executed this judgment as follows:

 

 

 

 

 

 

 

Defendant delivered on to
at , with a certified copy of this
judgment
UNlTED STATES MARSHAL
By:

 

Deputy U.S. |V|arsha|

Case 2:04-cr-20060-.]Pl\/| Document 75 Filed 08/12/05 Page 3 of 5 PagelD 113

Case No: 2:04CR20060-01-Ml Defendant Name: Theron HlCKS Page 3 of 4

SUPERViSED RELEASE

Upon release from imprisonment, the defendant shall be on supervised release for
a term of 3 Years.

The defendant shall report to the probation office in the district to which the
defendant is released within 72 hours of release from custody of the Bureau of Prisons.

Whi|e on supervised release, the defendant shall not commit another federa|, state
or local crime and shall not possess a firearml ammunition, or destructive device as defined
in 18 U.S.C. § 921.

The defendant shall refrain from any unlawful use of a controlled substance The
defendant shall submit to one drug test within 15 days of release from imprisonment and
at least two periodic drug tests thereafter, as directed by the probation officer.

The defendant shali comply with the following standard conditions that have been
adopted by this court.

STANDARD COND!T|ONS OF SUPERV|S|ON

1. The defendant shall not leave thejudicial district without the permission of the court or probation officer'.

2. The defendant shall report to the probation officer as directed by the court or probation officer and shall
submit a truthful and complete written report within the first five days of each month;

3. The defendant shall answer truthful all inquiries by the probation ofncer and follow the instructions of
the probation officer;

4. The defendant shall work regularly at a lawful occupation unless excused by the probation officer for
schooling, training, or other acceptable reasons;

5. The defendant shall notify the probation ofhcer ten(10) days prior to any change in residence or
employment
6. The defendant shall refrain from the excessive use of alcohol and shall not purchase, possessl use,

distribute, or administer any narcotic or other controlled substance, or any paraphernalia related to such
substances, except as prescribed by a physician, and shall submit to periodic urinalysis tests as
directed by the probation officer to determine the use of any controlled substance;

7. The defendant shall not frequent places where controlled substances are illegally so|d. used,
distributed. or administered;

8. The defendant shall not associate with any persons engaged in criminal activity, and shall not associate
with any person convicted of a felony unless granted permission to do so by the probation officer;

9. The defendant shall permit a probation officer to visit him or her at any time at horne or elsewhere and
shall permit confiscation of any contraband observed in plain view by the probation officer;

10. The defendant shall notify the probation officer within 72 hours of being arrested or questioned by a

Case 2:04-cr-20060-.]Pl\/| Document 75 Filed 08/12/05 Page 4 of 5 PagelD 114

Case No: 2:04CR20060-01-M| Defendant Name: Theron HlCKS Page 4 of 4
law enforcement officer;
11. The defendant shall not enter into any agreement to act as an informer or a special agent of a law

enforcement agency without the permission of the court;

12. As directed by the probation ofhcer, the defendant shall notify third parties of risks that may be
occasioned by the defendant's criminal record or personal history or characteristics, and shall permit
the probation officer to make such notifications and to confirm the defendants compliance with such
notification requirementl

13. ff this judgment imposes a fine or a restitution obligation, it shall be a condition of supervised release

that the defendant pay any such fine or restitution in accordance with the Schedufe of Payments set
forth in the Criminal Monetary Penalties sheet of thisjudgment.

ADD|T|ONAL COND|T|ONS OF SUPERV|SED RELEASE

The defendant shall also comply with the following additional conditions of supervised
release:

1. The defendant shall submit to drug testing and drug treatment programs by the Probation
Officer.

2. The defendant shall cooperate with DNA collection as directed by the Probation Office.

3. The defendant shall seek and maintain full-time employment

4. The defendant shall obtain his General Equivalency Diploma (G.E.D.)

CR|M|NAL MONETARY PENALT|ES

The defendant shail pay the following total criminal monetary penalties in accordance
with the schedule of payments set forth in the Schedu|e of Payments. The defendant shall
pay interest on any fine or restitution of more than $2,500, unless the fine or restitution is
paid in full before the fifteenth day after the date of judgment, pursuant to 18 U.S.C. §
3612(f). All of the payment options in the Schedufe of Payments may be subject to
penalties for default and delinquency pursuant to 18 U.S.C. § 3612(9).

Totaf Assessment Total Fine Total Restitution
$100.00

The Special Assessment shall be due immediate|y.

FINE
No fine imposed.

REST\TUT|ON
No Restitution was ordered.

l ISTRICT COURT - WESRTE DISTRCIT TNNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 75 in
ease 2:04-CR-20060 Was distributed by faX, mail, or direct printing on
August 12, 2005 to the parties listed.

 

 

Stephen A. Sauer

LAW OFFICE OF STEPHEN A. SAUER
8 S. Third St.

4th Floor

i\/lemphis7 TN 38103

David Pritehard

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

i\/lemphis7 TN 38103

Honorable Jon McCalla
US DISTRICT COURT

